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IN THE UNITED STATES DISTRICT COURT NOV 1s ist

FOR THE DISTRICT OF NEW MEXICO ouee
UNITED STATES OF AMERICA,
CRIMINAL No. |UCRAI G4 KG

Plaintiff,

Count 1: 18 U.S.C. §§ 922(g)(1) and 924:
Felon in Possession of a Firearm;

VS.

DANIEL HERNANDEZ, a.k.a. “Grumpy,”

and SAVANNAH PADILLA, Counts 2 and 10: 18 U.S.C. §§ 922(g)(1)

and 924: Felon in Possession of a Firearm

Defendants. and Ammunition;

Count 3: 18 U.S.C. § 924(1): Theft of a
Firearm;

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) Count 4: 18 U.S.C. §§ 922()) and 924:
) Possession of a Stolen Firearm;

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) Count 5: 18 U.S.C. § 2119(1): Carjacking;
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Count 6: 18 U.S.C. § 924(c)(1)(A) (ai):
Using, Carrying, and Brandishing a
Firearm During and in Relation to a Crime
of Violence;

Count 7: 18 U.S.C. § 371: Conspiracy;

Count 8: 18 U.S.C. § 2119(1): Carjacking;
18 U.S.C. § 2: Aiding and Abetting;

Count 9: 18 U.S.C. § 924(c)(1)(A) (ai):
Using, Carrying, and Brandishing a
Firearm During and in Relation to a Crime
of Violence; 18 U.S.C. § 2: Aiding and
Abetting.

INDICTMENT

The Grand Jury charges:
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Count 1

On or about September 6, 2018, in Grant County, in the District of New Mexico, the
defendant, DANIEL HERNANDEZ, a.k.a. “Grumpy,” knowing that he had been convicted of
at least one crime punishable by imprisonment for a term exceeding one year, specifically:

(1) robbery (two counts),

(2) bribery of a witness,

(3) larceny over $2,500.00,

(4) possession of explosive or incendiary device,

(5) false imprisonment,

(6) bringing contraband into places of confinement,

(7) escape from custody of a police officer,

(8) battery on a police officer, and

(9) possession of a controlled substance, methamphetamine,
knowingly possessed a firearm in and affecting commerce.

In violation of 18 U.S.C. §§ 922(g)(1) and 924.

Count 2

Beginning on or about September 7, 2018, and continuing to on or about September 8,
2018, in Grant County, in the District of New Mexico, the defendant, DANIEL HERNANDEZ,
a.k.a. “Grumpy,” knowing that he had been convicted of at least one crime punishable by
imprisonment for a term exceeding one year, specifically:

(1) robbery (two counts),

(2) bribery of a witness,

(3) larceny over $2,500.00,

(4) possession of explosive or incendiary device,
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(5) false imprisonment,
(6) bringing contraband into places of confinement,
(7) escape from custody of a police officer,
(8) battery on a police officer, and
(9) possession of a controlled substance, methamphetamine,
knowingly possessed a firearm and ammunition in and affecting commerce.
In violation of 18 U.S.C. §§ 922(g)(1) and 924.
Count 3
On or about September 7, 2018, in Grant County, in the District of New Mexico, the
defendant, DANIEL HERNANDEZ, a.k.a. “Grumpy,” knowingly stole a firearm, specifically,
a Glock, Model 42, .380 caliber, semi-automatic pistol, serial number ABSC289, which had been
shipped and transported in interstate commerce prior to the date of the alleged theft.
In violation of 18 U.S.C. § 924(1).
Count 4
From on or about September 7, 2018, and continuing to on or about September 9, 2018,
in Grant County, in the District of New Mexico, the defendant, DANIEL HERNANDEZ, a.k.a.
“Grumpy,” knowingly possessed a stolen firearm, specifically, a Glock, Model 42, .380 caliber,
semi-automatic pistol, serial number ABSC289, which had been shipped and transported in
interstate commerce, the defendant knowing and having reasonable cause to believe that the
firearm was stolen.
In violation of 18 U.S.C. §§ 922(j) and 924.
Count 5
On or about September 7, 2018, in Grant County, in the District of New Mexico, the

defendant, DANIEL HERNANDEZ, a.k.a. “Grumpy,” with the intent to cause death and

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serious bodily harm, did take from the person and presence of K.J., by force and violence, and by
intimidation, a motor vehicle that had been transported, shipped, and received in interstate and
foreign commerce, specifically, a Kia Spectra.

In violation of 18 U.S.C. §§ 2119(1) and 2.

Count 6

On or about September 7, 2018, in Grant County, in the District of New Mexico, the
defendant, DANIEL HERNANDEZ, a.k.a. “Grumpy,” knowingly used, carried and
brandished a firearm during and in relation to a crime of violence for which the defendant may
be prosecuted in a court of the United States, specifically, carjacking, as charged in Count 5 of
this indictment.

In violation of 18 U.S.C. § 924(c)(1)(A)(ii).

Count 7

From on or about September 7, 2018, and continuing to on or about September 8, 2018,
in Grant County, in the District of New Mexico, the defendants, DANIEL HERNANDEZ,
a.k.a. “Grumpy,” and SAVANNAH PADILLA, knowingly, unlawfully and willfully
combined, conspired, confederated, agreed, and acted interdependently with one another and
with others unknown to the Grand Jury to commit carjacking, contrary to 18 U.S.C. § 2119(1).

Overt Acts

In furtherance of the conspiracy, and to effect the objects thereof, the following overt

acts, among others, were committed in the District of New Mexico, and elsewhere:
Overt Act 1

On or about September 7, 2018, after K.J. picked up Daniel Hernandez and Savannah

Padilla, Daniel Hernandez pulled a firearm on K.J. while Daniel Hernandez and Savannah

Padilla demanded money from K.J.
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Overt Act 2

From on or about September 7, 2018, and continuing to on or about September 8, 2018,
Daniel Hernandez and Savannah Padilla took turns brandishing a firearm at K.J. while they
searched K.J.’s vehicle for items of value.

Overt Act 3

From on or about September 7, 2018, and continuing to on or about September 8, 2018,
after K.J. fled from his vehicle, Daniel Hernandez and Savannah Padilla took K.J.’s vehicle and
they drove the vehicle around Silver City, New Mexico.

In violation of 18 U.S.C. § 371.

Count 8

From on or about September 7, 2018, and continuing to on or about September 8, 2018,
in Grant County, in the District of New Mexico, the defendants, DANIEL HERNANDEZ,
a.k.a. “Grumpy,” and SAVANNAH PADILLA, with the intent to cause death and serious
bodily harm, did take from the person and presence of K.J., by force and violence, and by
intimidation, a motor vehicle that had been transported, shipped, and received in interstate and
foreign commerce, specifically, a Kia Spectra.

In violation of 18 U.S.C. §§ 2119(1) and 2.

Count 9

From on or about September 7, 2018, and continuing to on or about September 8, 2018,
in Grant County, in the District of New Mexico, the defendants, DANIEL HERNANDEZ,
a.k.a. “Grumpy,” and SAVANNAH PADILLA, knowingly used, carried and brandished a
firearm during and in relation to a crime of violence for which the defendants may be prosecuted
in a court of the United States, specifically, carjacking, as charged in Count 8 of this indictment.

In violation of 18 U.S.C. §§ 924(c)(1 (A)(ii) and 2.
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Count 10

On or about September 9, 2018, in Grant County, in the District of New Mexico, the
defendant, DANIEL HERNANDEZ, a.k.a. “Grumpy,” knowing that he had been convicted of
at least one crime punishable by imprisonment for a term exceeding one year, specifically:

(1) robbery (two counts),

(2) bribery of a witness,

(3) larceny over $2,500.00,

(4) possession of explosive or incendiary device,

(5) false imprisonment,

(6) bringing contraband into places of confinement,

(7) escape from custody of a police officer,

(8) battery on a police officer, and

(9) possession of a controlled substance, methamphetamine,
knowingly possessed a firearm and ammunition in and affecting commerce.

In violation of 18 U.S.C. §§ 922(g)(1) and 924.

A TRUE BILL:

/s/

 

FOREPERSON OF THE GRAND JURY

  

Assistant United States Attorney
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